                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JUAN BALDERAS,                                               §
                                                             §
                                         Petitioner,         §
       v.                                                    § ACTION NO.: 4:20-CV-4262
                                                             § JUDGE ALFRED H. BENNETT
                                                             §
BOBBY LUMPKIN,                                               §
                                                             § DEATH PENALTY CASE
   Director, Texas Department of Criminal Justice,           §
   Institutional Division,                                   §
                                         Respondent.         §


                                 MOTION FOR DISCOVERY

                                    I.        INTRODUCTION

       Petitioner Juan Balderas was convicted and sentenced to death in 2014 for the murder of

Eduardo “Powder” Hernandez—a murder he did not commit. He was framed by two leaders of

his street gang (La Tercera Crips (“LTC”))—Israel “Cookie” Diaz and Victor “Gumby” Arevalo—

who conspired to murder Powder and to pin the crime on Mr. Balderas because Powder had

“snitched” on Cookie. Despite Mr. Balderas being at the home of a family friend on the night of

the murder (corroborated by three witnesses with him at the time), and despite no physical evidence

linking Mr. Balderas to the crime, the State charged and arrested Mr. Balderas based solely on an

eye-witness photograph identification, which was only procured after that witness was twice

unable to identify the shooter and only after the officers supposedly told the eye-witness to put her

finger over portions of the photographs to partially cover their faces. The key testimony at trial

consisted of the faulty eye-witness testimony, self-serving testimony from Cookie himself, and the

fact that Mr. Balderas was arrested while carrying a box of weapons that contained the murder




                                                   1
weapon, which Gumby had given to Mr. Balderas earlier that morning. These three pieces of

evidence were the only evidence used to secure a conviction and death sentence for Mr. Balderas.

       In its zealousness in securing the conviction, the State withheld a mountain of exculpatory

evidence on each of these three pillars. The State withheld impeachment evidence of its notes with

“Cookie” where he gave multiple differing accounts of Mr. Balderas’s “confession” throughout

the years, including one where Mr. Balderas never made any confession at all. The State withheld

evidence    that    another    LTC        gang   member     who    was     supposedly     at   the

“confession” told investigators that Mr. Balderas never made any confession. The State also

withheld evidence that LTC members, including Cookie, told investigators that Mr. Balderas was

tasked with disposing of LTC’s weapons. Finally, the State withheld evidence that the officers

who secured the photographic identification were accused of playing “Where’s Waldo” with

eyewitnesses and putting their fingers on photographs to coerce a positive identification. While a

small portion of this information was adjudicated during the state habeas proceeding, the majority

is unadjudicated evidence that could not have been obtained through diligence—for the simple

reason that the State hid the evidence.

       Mr. Balderas’s conviction was also secured through, in part, his trial counsel’s ineffective

assistance of counsel including, among others, trial counsel’s failure to conduct an adequate

investigation into Mr. Balderas’s innocence that included a refusal of counsel to secure testimony

from Mr. Balderas’s alibi witnesses (who specifically offered to help but were rejected), counsel’s

failure to present an expert on eyewitness identification, failure to investigate juror misconduct,

and counsel’s failure to investigate and present readily available mitigation evidence. During Mr.

Balderas’s state habeas proceedings, the court denied Mr. Balderas the opportunity to introduce

evidence on many of these failures. While the issue of ineffective assistance was adjudicated by



                                                 2
the state court, the court severely limited Mr. Balderas’s ability to introduce evidence and allowed

the State to present affidavits from Mr. Balderas’s trial counsel but denied him the opportunity to

confront and cross examine them on their assertions. Mr. Balderas has thus presented a prima

facie case of ineffective assistance of counsel and the state court’s adjudication was contrary to

federal law and unreasonable, and thus discovery is necessary to adequately address these claims.

       Accordingly, Mr. Balderas brings this Motion for Discovery before this Court and requests

discovery in support of six claims (Claims I, II, III, IV, and VI).

                                     II.     BACKGROUND

       A. La Tercera Crips (“LTC”) Street Gang

       LTC is a street gang based in southwest Houston with a neighborhood subgroup in the

Alief neighborhood. Petition for Writ of Habeas Corpus (“Pet.”) ¶ 56, ECF No. 2. Gumby was

the leader of LTC Alief in 2004 and 2005, and Cookie was his close friend and right-hand man.

Id. ¶¶ 57-58. While Gumby and Cookie were involved in the more violent side of LTC’s business,

Mr. Balderas’s role was to hold onto and transport LTC’s shared guns and generally did not agree

with “bringing on heat to” LTC. Id. ¶¶ 58-59.

       B. Powder “Snitches” On Cookie and Implicates Him in a Murder

       On December 3, 2004, Powder was arrested by the Houston Police Department with a

stolen vehicle. Id. ¶ 62. A shell casing found in the vehicle matched ballistics evidence in a

murder. Id. In conversations with investigators, Powder revealed that Cookie had been bragging

about committing the murder. Id. ¶ 63.

       Following this incident, Powder was considered a “snitch” by Cookie. Id. ¶ 65. At the

same time, Mr. Balderas had angered Cookie and Gumby by continuing to remain friends with




                                                  3
Powder. Id. Also during this time, Mr. Balderas had already expressed desires to leave LTC

because he “wanted a better life.” Id. ¶ 71.

       On or about December 3, 2005, Cookie called an LTC meeting to discuss Powder’s

snitching. Cookie argued that Powder should be killed on account of the snitching and his

involvement with a rival gang, MS-13. Id. ¶ 67. Mr. Balderas disagreed in front of the entire gang

and said that Powder should not be killed. Id. ¶¶ 68-69. Cookie was furious at Mr. Balderas for

what he saw as disloyalty to him. He was also angry with Mr. Balderas for trying to leave the

gang. To quiet Powder and protect himself, Cookie convinced Gumby to murder Powder and to

frame Mr. Balderas. Id. ¶¶ 70-71.

       C. Powder’s Murder

       On December 6, 2005, Powder was with his girlfriend Karen Bardales and her sister Wendy

Bardales, along with several associates of the gang MS-13. Id. ¶ 73. That evening, a gunman

entered the apartment with a black hoodie and shot and killed Powder. Id. ¶ 77.

       On the night of the murder, Mr. Balderas was at the home of Oralia McCrary with three of

her children, Anali Garcia, Octavio Cortes, and Ileana Cortes. Id. ¶ 78. Anali, Ileana, and Octavio

all independently recall that Mr. Balderas spent all afternoon and evening of December 6, 2005,

with them at their family’s apartment. Id. ¶ 80.

       D. The State’s Investigation

       On the night of the murder, Wendy Bardales told officers that she “got a good look at [the

shooter’s] face,” but that she had “never seen him before.” Id. ¶ 82(d). The next day, HPD

Sergeant Norman Thomas Ruland presented Wendy with a photograph array which did not include

Mr. Balderas’s photograph. Id. ¶ 83. Wendy did not identify anyone as the shooter but did identify




                                                   4
one of the photographs as Cookie, who she had known from a year-long sexual relationship with

him. Id. ¶ 84.

       On December 12, 2005, officers received an anonymous tip that identified Mr. Balderas as

the shooter. Sgt. Ruland then presented Wendy with a second photograph array including a

photograph of Mr. Balderas. Wendy indicated that Mr. Balderas “could” be the shooter but did

not positively identify him. Unsatisfied, Sgts. Ruland and Brian Harris visited Wendy again on

December 13, 2005, and had her look at the same photographic array and allegedly told her to

cover the top portion of each photograph. Wendy was then suddenly able to identify Mr. Balderas.

       On December 16, 2005, HPD officers arrested seven members of LTC including Cookie

and Mr. Balderas. Id. ¶ 89. Mr. Balderas was arrested while carrying a green plastic container

that Gumby had brought to Mr. Balderas earlier that morning. Id. ¶ 90. It was later discovered a

weapon in the container was the firearm used to kill Powder. Id. Mr. Balderas told investigators

that LTC had framed him. Id. ¶ 91.

       E. Trial Counsel Fails to Conduct an Investigation for Eight Years

       Over the course of the next eight years following his arrest, Mr. Balderas’s case was reset

for trial more than fifty times. Id. ¶ 95. During that period, trial counsel almost solely focused

their efforts on persuading Mr. Balderas to plead guilty to a crime he did not commit. Id. ¶ 99.

Trial counsel did, however, repeatedly request disclosure of exculpatory evidence. Id. ¶¶ 237-238.

Trial counsel only attempted to investigate Mr. Balderas’s innocence in the final month prior to

his trial and after jury selection had already begun. Id. ¶¶ 109-119. Even then, the investigation

was largely conducted by Gloria Poa, a legal secretary, whose inexperience in homicide

investigation contributed to an inadequate investigation. And trial counsel rejected efforts by alibis

who offered to testify that they were with Mr. Balderas on the night of the murder. Id.



                                                  5
       F. The Trial of Mr. Balderas

       After a jury selection that resulted in a disproportionately white jury, Mr. Balderas’s trial

was set to begin on February 18, 2014. Id. ¶¶ 120-122. On the eve of the trial, Cookie secured a

plea deal with the State in exchange for his testimony that Mr. Balderas “confessed” to killing

Powder. Id. ¶¶ 125-130, 133-135. The State also presented the tainted photo identification, and

the murder weapon found in the green box—though did not present any evidence that Mr.

Balderas’s fingerprints were on the weapon. Id. ¶ 286. The defense case rested on the theory that

Gumby killed Powder. Id. ¶¶ 142-146. However, the defense case reflected the deficient

investigation that preceded it and the defense presented no evidence from the (readily available)

alibi witnesses that Mr. Balderas was watching movies with them on the night of the murder. On

the third day of deliberations, the jury returned a verdict of guilty. Id. ¶¶ 168-170.

       G. State Appellate and State Habeas Proceedings

       Mr. Balderas’s motion for a mistrial/new trial was denied without hearing on April 21,

2014. See id. On April 27, 2015, Mr. Balderas filed an appeal with the Texas Court of Criminal

Appeals (“TCCA”). Id. ¶ 184. The TCCA denied Mr. Balderas’s appeal on November 2, 2016.

Id. ¶ 185.

       The trial court appointed the Office of Capital and Forensic Writs (“OCFW”) to represent

Mr. Balderas in post-conviction state-habeas proceedings. Id. ¶ 186. In October 2015, OCFW

filed a Motion for Disclosure of Exculpatory and Impeachment Evidence. Id. ¶1 87. Thereafter,

the State produced its file to OCFW including undisclosed notes of interviews with Cookie from

2007 and 2008 with contradictory accounts of Mr. Balderas’s alleged confession to Cookie. Id. ¶

187-191. It would later be revealed that the State had not produced its full file and had withheld




                                                  6
documents on the basis of privilege and otherwise without any notice or production of a privilege

log.

       OCFW interviewed Cookie in light of the new evidence, and he recanted his trial testimony

and indicated that Mr. Balderas had not confessed to killing Powder. Id. ¶ 192. Inexplicably at

the hearing, however, Cookie recanted this recantation. Id. ¶ 197.

       In May 2018, the State issued Brady disclosures for the first time just days before the state

habeas evidentiary hearing, including prosecution notes of interviews with Cookie that

undermined his testimony and 561 copies of jail calls made by Cookie that contained further

impeachment material. Id. ¶¶ 193-195. The state habeas court rejected OCFW’s request for a

continuance to review this material. Id. ¶ 41.

       In August 2018, two months after the state habeas proceedings, the State again issued

Brady disclosures containing further exculpatory information, including a statement that the

prosecution had interviewed a fellow gang member who was allegedly present at the “confession,”

who said no such confession occurred. Id. ¶¶ 216. The State has continued to make new

disclosures to the undersigned counsel years after Mr. Balderas’s trial that further undermined

Cookie’s testimony, and information that the investigating officers were accused of playing

“Where’s Waldo” with eyewitnesses to induce a positive identification. Id. ¶¶ 219-231.

       During Mr. Balderas’s state habeas proceedings, the court denied Mr. Balderas the

opportunity to introduce evidence in multiple ways. Id. ¶¶ 1106-1115. The state habeas court only

allowed factual development on two of the fourteen factual issues submitted by Mr. Balderas. Id.

¶ 1106. Even still, the state habeas court sharply limited Mr. Balderas’s ability to expand the

record on those two issues. For example, the state habeas court allowed the State to secure




                                                 7
affidavits from Mr. Balderas’s trial counsel but denied him the opportunity to confront and cross

examine them on their assertions. Id. ¶ 1107.

        Ultimately, the state habeas court denied relief on July 20, 2018 and the TCCA denied Mr.

Balderas’s State Habeas Petition on December 18, 2019. Id. ¶¶ 202, 217. Mr. Balderas timely

filed this petition on December 15, 2020.

                                        III.    ARGUMENT

        A.      Legal Standards

        Rule 6 of the Rules Governing Section 2254 Cases in the United States District Courts

provides that discovery is available upon a showing of “good cause.” A petitioner establishes

“good cause” when “specific allegations before the court show reason to believe that the petitioner

may, if the facts are fully developed, be able to demonstrate that he is . . . entitled to relief.” Bracy

v. Gramley, 520 U.S. 899, 908-09 (1997) (quoting Harris v. Nelson, 394 U.S. 286, 300 (1969)).

The Fifth Circuit has stated that the good cause is satisfied “upon a prima facie showing that the

petition is entitled to relief.” Washington v. Davis, 715 F. App’x 380, 385 (5th Cir. 2017).

        In Cullen v. Pinholster, the Supreme Court held that review under Section 2254 is generally

limited to the record that was before the state court. 563 U.S. 170 (2011). Some courts have

extended the underlying logic of Pinholster to limit the district court’s discretion under Rule 6.

See, e.g., Soffar v. Stephens, No. H-12-3783, 2014 WL 12642575, at *1-2 (S.D. Tex. July 14,

2014). That extension is unwarranted in this case.

        First, Pinholster makes no mention of the standard for discovery under Rule 6, and for that

reason alone, its limitations do not apply. See, e.g., Conway v. Houk, No. 2:07-cv-947, 2011 WL

2119373, at *3 (S.D. Ohio May 26, 2011) (“Pinholster did not, strictly speaking, alter or even

speak to the standards governing discovery set forth in Rule 6” and “[t]hat is reason enough to



                                                   8
refrain from invoking Pinholster’s restrictions at the discovery phase.”); Quezada v. Brown, No.

08-CV-5088 (KAM), 2011 WL 4975343, at *2 (E.D.N.Y. Oct. 19, 2011) (“If the court were to

adopt respondent’s reading of Pinholster, it would render completely meaningless Rule 6 and

require the court to determine that Bracy v. Gramley is no longer applicable to discovery

determinations.”).

       Second, while Pinholster may limit the “federal court’s consideration of new facts,” it “did

not clarify whether AEDPA also confined a federal habeas petitioner’s development of new facts.”

Cole v. Davis, No. H-17-940, 2018 WL 6019165, at *3 (S.D. Tex. Nov. 16, 2018). As such,

“[r]eading into Rule 6 a threshold requirement of Pinholster ‘admissibility’ is a heavy and

premature burden.” Gibson v. Wetzel, No. 11-4550, 2016 WL 1273626, at *3 (E.D. Pa. Mar. 31,

2016). The more prudent course is to allow a petitioner to develop the facts “now so that it is not

lost forever.” Monroe v. Warden, No. 2:07-cv-258, 2012 WL 4342890, at *10 (S.D. Ohio Sep.

21, 2012) (“Even if the Court does not yet know whether it will be able to consider the evidence

generated by the depositions, prudence in the preservation of evidence suggests strongly that the

evidence be taken now so that it is not lost forever.”).

       Indeed, allowing discovery prior to an evidentiary hearing has efficiency benefits as well:

“[a]side from developing the factual basis for a petitioner’s claims, discovery may also (1) enable

the court to resolve habeas petitions without resorting to an evidentiary hearing; and (2) assist the

court in the event that an evidentiary hearing is conducted.” Federal Habeas Manual § 6:3; see

also Blackledge v. Allison, 431 U.S. 63, 81 (1977) (including discovery among “a variety of

measures in an effort to avoid the need for an evidentiary hearing”). On the other hand, foreclosing

discovery provides a perverse incentive to the State to purposefully withhold exculpatory evidence

during the state court proceedings that it knows will never see the light of day under an expansive



                                                  9
interpretation of Pinholster. See Sample v. Colson, 958 F. Supp. 2d 865, 889 (W.D. Tenn. 2013)

(“[A]llowing a Pinholster bar on discovery would mean that the State could thwart any

adjudication of facts underlying a federal claim simply by withholding the facts during the state-

court proceedings.”).

        In addition, “[t]he very nature of [habeas proceedings] demands that [they] be administered

with the initiative and flexibility essential to insure that miscarriages of justice within [their] reach

are surfaced and corrected.” Harris, 394 U.S. at 291. Capital cases in particular underscore the

need for heightened procedural safeguards because the sentence is final and irreversible. See, e.g.,

Kyles v. Whitley, 514 U.S. 419, 422 (1995) (The “duty to search for constitutional error with

painstaking care is never more exacting than it is in a capital case.”). As such, limiting discovery

at this time is contrary to the exploration of substantive justice, and the good cause standard should

apply, as this Court has applied post-Pinholster. See Wolf v. Davis, 2019 WL 5864600, at *1-2

(S.D. Tex. Nov. 8, 2019) (Bennett, J.).

        Nevertheless, even if Pinholster applies at this phase (and it does not), its limitations do

not apply when: (1) for exhausted claims, the petitioner meets either exception in §2254(d) (the

decision below is contrary to or is an unreasonable application of federal law or unreasonable

decision); or, (2) for unexhausted claims, the petitioner meets either exception in §2254(e)(2) (new

rule or factual predicate that could not have been previously discovered through the exercise of

due diligence). See, e.g., Smith v. Cain, 708 F.3d 628, 634, 635 (5th Cir. 2013) (holding that

Pinholster “does not forbid” allowing an evidentiary hearing where the “judge determined on the

basis of the state court record that the state court’s Batson analysis ‘was contrary to, or at least

involved an unreasonable application of, clearly established Federal law’” and also describing that

a hearing was not in error if the petitioner “develop[ed] the basis of his claim as required under 28



                                                   10
U.S.C. § 2254(e)(2)”); id. at 635 (“Pinholster’s limitation on federal evidentiary hearings does not

apply once the district court concluded, solely on the basis of the state court record, that the state

trial court unreasonably applied federal law. Because the state court decision is no longer entitled

to deference, the federal court is free to properly address the claim and grant appropriate relief.”). 1

        Mr. Balderas’s petition sufficiently alleges all of the necessary elements to make out a

prima facie claim for relief with respect to each claim for which he seeks discovery. And with

respect to each claim for which Mr. Balderas requests discovery, the petition sufficiently alleges,

on the basis of specific factual allegations, that the state court’s decision was “contrary to, or

involved an unreasonable application of, clearly established Federal law,” 28 U.S.C. § 2254(d)(1);

that the state court decision was “based on an unreasonable determination of the facts in light of

the evidence presented in the State court proceeding,” 28 U.S.C. § 2254 (d)(2); or that the state

court did not adjudicate the claim on the merits and the new evidence falls into an exception under

§2254(e).

        B.      Mr. Balderas Has Good Cause for Discovery on Claim I

        In Claim I, Mr. Balderas alleges that the State failed to disclose a tidal wave of exculpatory

and impeachment evidence to defense counsel in violation of Brady. See Pet. ¶¶ 232-367. That

evidence includes contradictory testimony from Cookie on the circumstances of the “confession,”

including a version where Mr. Balderas never confessed, evidence that another LTC gang member




        1
         See also Cole, 2018 WL 6019165, at *4 (“Pinholster does not completely foreclose the
discovery Cole seeks relevant to his exhausted claims. If Cole can meet § 2254(d)’s requirements,
factual development may be appropriate.”); Soffar, 2014 WL 12642575, at *2 (“Pinholster,
however, does not completely foreclose all discovery in habeas cases. For instance, once a state
prisoner meets section 2254(d)’s requirements, he must also conclusively prove that he ‘is in
custody in violation of the Constitution or laws or treaties of the United States.’ In that case,
factual development may be appropriate to determine whether the prisoner’s constitutional rights
have been violated.” (internal cites omitted)).
                                                  11
supposedly present at the confession stated that Mr. Balderas never confessed, and evidence that

the officers were playing “Where’s Waldo” with witnesses and putting their fingers over suspects.

Mr. Balderas has therefore made out a prima facie claim that he is entitled to relief and discovery

is warranted.

        While a portion of Cookie’s contradictions were adjudicated in the State Habeas

proceeding, much was not and it should therefore be considered a “new claim” as a whole for

purposes of Pinholster (should the court apply it). In Pinholster, the Court explained that its ruling

generally limiting evidence to the state court record did not apply where the petitioner meets an

exception under §2254(e)(2). Cullen, 563 U.S. at 185–86. In doing so, the Court endorsed a

hypothetical posed by Justice Sotomayor as an example of a “new claim.” Id. at 186 n.10. Justice

Sotomayor asked what if “a petitioner who diligently attempted in state court to develop the factual

basis of a claim that prosecutors withheld exculpatory witness statements in violation of Brady,”

and “the state court denied relief on the ground that the withheld evidence then known did not rise

to the level of materiality required under Brady” Id. at 214 (Sotomayor, J., dissenting). She

continued that, what if “[b]efore the time for filing a federal habeas petition has expired,” the “state

court orders the State to disclose additional documents the petitioner had timely requested under

the State’s public records Act.” Id. And, what if those “disclosed documents reveal that the State

withheld other exculpatory witness statements, but state law would not permit the petitioner to

present the new evidence in a successive petition.” Id. at 214-15. The majority agreed this might

present a new claim that would not be subject to the evidentiary limits. Id. at 185 n.10.

        The nearly exact (and worse) situation has occurred here. Mr. Balderas made repeated,

timely requests for all Brady material to the State, beginning in 2007, seven years before his trial.

Pet. ¶ 237-246. It was not until the state habeas proceeding, and after three motions and a court



                                                  12
order, that the State disclosed for the first time, among others, prosecutor notes from interviews

with Cookie that contradicted his testimony and 16 CDs of jail calls made by the star witness

containing more impeachment material. Id. ¶¶ 244-246. The jail call disclosures were made just

days before the state habeas hearing and the state court refused a continuance for habeas counsel

to review the disclosures. As such, Mr. Balderas was unable to present evidence within the jail

calls contradicting Cookie’s testimony. Worse, the State withheld further exculpatory evidence

until after the State Court habeas proceeding that was never allowed to be presented to the state

court. After the state habeas proceeding, the State made a self-styled Brady disclosure that a fellow

LTC gang member had told prosecutors in 2013 that that, contrary to Cookie’s testimony, Mr.

Balderas never “confessed” in front of him and others in the gang. Id. ¶ 247. Making matters even

worse, it was not until federal habeas counsel was engaged that the State disclosed, in late 2020,

further prosecutor notes undermining Cookie’s testimony and provided evidence that the officers

who procured a photo spread identification had been playing “Where’s Waldo” with witnesses and

directing witnesses to identify suspects. Id. ¶¶ 248-52. The newly disclosed evidence on the lineup

identified a potential practice of the investigating officers of using suggestive tactics during photo

lineups that trial counsel did not have an opportunity to investigate.

       In addition, the State withheld evidence supporting the defense theory that Mr. Balderas

was merely holding the LTC guns the day he was arrested. Id. ¶¶ 282-94. Notably, the State

presented no testimony at trial regarding whether Mr. Balderas’s fingerprints were found on the

murder weapon. Id. ¶ 286. Moreover, the State withheld evidence that Mr. Balderas was simply

getting rid of the guns on the day of his arrest, evidence that “everyone gave [Mr. Balderas] guns

to hold,” and evidence that Cookie gave contradictory testimony regarding the LTC’s practice of

sharing guns. Id. ¶¶ 287-94.



                                                 13
       In sum, the petition demonstrates that the State engaged in a troubling pattern of

withholding evidence in violation of Brady, and that there is good cause for discovery to

adequately address Mr. Balderas’s claims. As such, Mr. Balderas has shown that discovery related

to this claim is more than likely to lead to relevant evidence. Accordingly, Mr. Balderas requests

the following discovery at this time:

               1. Production of any documents and communications regarding the State’s
                  fingerprint testing of the murder weapon.

               2. Physical inspection of the murder weapon.

               3. Leave to subpoena the Houston Police Department for documents and
                  communications regarding misconduct or claims of misconduct, whether
                  resulting in disciplinary action or supported by evidence, as to investigating
                  officers Sgt. Norman Thomas Ruland and Sgt. Brian Harris related to witness
                  identification of suspects through photographic arrays.

               4. Leave to subpoena Sgt. Thomas Ruland and Sgt. Brian Harris for depositions
                  regarding identification of suspects through photographic arrays.

               5. Leave to subpoena state prosecutors Traci Bennett, Caroline Dozier, and Mary
                  McFadden for depositions regarding their failure to disclose exculpatory and
                  impeachment evidence to Mr. Balderas prior to his trial.

               6. Leave to subpoena Israel “Cookie” Diaz for a deposition regarding
                  contradictions in his testimony against Mr. Balderas and other evidence
                  concerning Cookie uncovered by the subsequent disclosures of Brady materials
                  by the State.

       C.      Mr. Balderas Has Good Cause for Discovery on Claims II, III, and IV

       In Claim II and Claim III, Mr. Balderas alleges ineffective assistance of his trial counsel at

the guilt/innocence phase and punishment phase respectively. See Pet. ¶¶ 368-759. In Claim IV,

Mr. Balderas also alleges ineffective assistance counsel on direct appeal. Id. ¶¶ 760-808. Good

cause exists for discovery as to each of these claims.

       Mr. Balderas specifically alleges that his trial counsel was ineffective on the basis of,

among others, counsel’s failure to address Mr. Balderas’s primary migration theme during jury

                                                14
selection, counsel’s failure to timely assert Mr. Balderas’s right to a speedy trial, counsel’s failure

to conduct an adequate investigation into Mr. Balderas’s innocence, counsel’s failure to fully

investigate and present a readily available alibi defense, counsel’s failure to present an expert on

eyewitness identification, counsel’s failure to investigate juror misconduct, counsel’s failure to

investigate evidence of extraneous offenses allegedly committed by Mr. Balderas, counsel’s failure

to investigate and present readily available mitigation evidence, and counsel’s failure to preserve

objections on the record. Id. ¶¶ 386-759.

       While Mr. Balderas waited eight years to stand trial, his counsel opted to focus their efforts

on convincing Mr. Balderas to take a plea deal for a crime which he did not commit. Trial counsel

ignored Mr. Balderas’s repeated pleas to investigate his innocence, which resulted in Mr. Balderas

filing a pro se motion for substitute counsel in 2012. Id. ¶ 483. A month before trial, Mr.

Balderas’s counsel had not yet conducted a single interview relevant to Mr. Balderas’s innocence.

Id ¶ 484. When trial counsel did finally attempt an eleventh-hour investigation, it was conducted

primarily by a legal secretary, Gloria Poa, who lacked the skills and expertise to sufficiently

investigate Mr. Balderas’s innocence. Id. ¶¶ 484, 500. But the duty of trial counsel to conduct a

fulsome investigation, especially in the context of a capital murder, “may not be sloughed off” on

someone else. Butler v. State of Texas, 716 S.W.2d 48, 55 (Tex. Crim. App. 1986); see also Bell

v. Georgia, 554 F.2d 1360, 1361 (5th Cir. 1977) (concluding that attorney’s performance was

unreasonable where he knew of alibi witnesses and did not contact them because accused agreed

to contact witnesses himself).

       Post-conviction investigation uncovered a wealth of easily obtainable evidence pointing to

Mr. Balderas’s innocence, evidence demonstrating the guilt of alternate suspects, and evidence




                                                  15
supporting his alibi defense that those alibis offered to testify but were refused by trial counsel.

Pet. ¶¶ 485-540.

       Likewise, the petition specifically alleges the litany of ways in which trial counsel’s

investigation and presentation of mitigation evidence at the punishment phase was deficient. Id.

¶¶ 608-99. For example, trial counsel: failed to investigate the evidence of extraneous offenses

the State alleged were attributable to Mr. Balderas leaving the allegations largely unrebutted; failed

to investigate and present evidence that Mr. Balderas was dissociating from the LTC gang with

hopes of furthering his education; failed to adequately investigate and present mitigating evidence

regarding Mr. Balderas’s lifelong exposure to violence, crime, and sexual abuse; failed to

investigate and present Mr. Balderas’s history of serious mental illness; and failed to investigate

and present evidence of Mr. Balderas’s good character. Id.

       And, in perhaps the most disturbing example of trail counsel’s apathy toward defending

Mr. Balderas, Mr. Nunnery revealed to the jury in his punishment phase closing arguments that he

was “going to pick up [his] stuff . . . and walk out of this courtroom” and that he would “not be

here when you return your verdict.” Id. ¶ 742. Mr. Nunnery did in fact leave before the jury

finished deliberations to join his wife on a vacation to Florida—signaling to the jury and Mr.

Balderas that his trip to Florida was more important than Mr. Balderas’s life. Id. ¶¶ 742-43.

       Mr. Balderas’s also specifically alleges that appellate counsel was ineffective in a multitude

of ways including the failure to present evidence to support ineffective assistance of trial counsel,

failure to present evidence concerning the false testimony of Cookie, the failure to present an

available alibi defense, the failure to raise trial counsel’s failure to introduce mitigation evidence,

the failure to raise the issue of the suggestive photo spread, the failure to raise Brady issues, and

the failure to raise prosecutorial misconduct in the State’s closing argument. Id. ¶¶ 760-808.



                                                  16
       Worse, during the state habeas proceedings, the only direct factual development that the

state habeas court permitted on this claim was state-procured affidavits of trial counsel limited to

their failure to present alibi witnesses. Id. ¶ 1105. But Mr. Balderas was denied the right to

confront and cross-examine his trial counsel, in violation of his right to due process. Id. ¶ 1107;

see also Goldberg v. Kelly, 397 U.S. 254, 269 (1970) (“[A]lmost every setting where important

decisions turn on questions of fact, due process requires an opportunity to confront and cross-

examine adverse witnesses.”); Ellis v. Capps, 500 F.2d 225, 227 (5th Cir. 1974) (“Cordoning off

a highly relevant area of inquiry such as the bias and prejudice of a complainant is repugnant to

the principle of a fair trial.”); Carter v. Morehouse Par. Sch. Bd., 441 F.2d 380, 382 (5th Cir. 1971)

(“A ruling based on evidence which a party has not been allowed to confront or rebut is one which

denies due process.”).

       As a result of the deficient process in the state habeas court, the record upon which the

court based its findings of fact and conclusion of law was inadequate and the claim was not

adjudicated on the merits. See Winston v. Kelly, 592 F.3d 535, 555-56 (4th Cir. 2010) (“If the

record ultimately proves to be incomplete, deference to the state court’s judgment would be

inappropriate because judgment on a materially incomplete record is not an adjudication on the

merits for purposes of § 2254(d).”). Accordingly, the court should give no deference to the state

court decision and review this claim de novo without the limitations of §2254(d) and Pinholster.

See Cone v. Bell, 556 U.S. 449, 472 (2009) (holding that where a state court “did not reach the

merits” of a claim, “federal habeas review is not subject to the deferential standing that applies

under AEDPA to ‘any claim that was adjudicated on the merits in State court proceedings’” and

“[i]nstead, the claim is reviewed de novo.”).




                                                 17
       Regardless, even if Pinholster applied, Mr. Balderas has presented a prima facie case that

the state habeas court’s denial of Mr. Balderas’s ineffective assistance of counsel claims was both

“contrary to, or involved an unreasonable application of, clearly established Federal law” and an

“unreasonable determination of the facts in light of the evidence presented.” See 28 U.S.C. §

2254(d)(1)-(2). Moreover, the specific allegations of Mr. Balderas’s counsel’s repeated failures

demonstrate that the requested discovery is likely to lead to relevant evidence in further support of

his claims. Accordingly, Mr. Balderas has “good cause” for discovery with respect to these claims.

Specifically, Mr. Balderas requests the following discovery:

               1. Leave to subpoena Alvin Nunnery, Jerome Godinich, Robert R. Scott, R. Scott
                  Shearer, and Gloria Poa for all documents and communications in their
                  possession related to the representation of Mr. Balderas.

               2. Leave to subpoena Alvin Nunnery, Jerome Godinich, Robert R. Scott, R. Scott
                  Shearer, and Gloria Poa for depositions regarding the representation of Mr.
                  Balderas.

               3. Production of all State documents and communications regarding Mr.
                  Balderas’s mental health.

       D.      Mr. Balderas Has Good Cause for Discovery on Count VI

       In Claim VI, Mr. Balderas alleges that African Americans were excluded from his jury in

violation of his rights under the Equal Protection Clause. See Pet. ¶¶ 823-58. Mr. Balderas

specifically alleges that 206 of the 273 prospective jurors were excused without examination. Id.

¶ 832. The discussion leading to those decisions were held off the record and there is no indication

of either party’s basis for the broad excusals. Id. In the end, Mr. Balderas’s jury did not contain

a single African American man and only one African American woman despite African Americans

making up 23.6% of the venire. Id. ¶ 834. In contrast, white prospective jurors, overall and white

men made up 52.3% and 27.0% of the venire respectively, but ultimately made up 71.4% and

42.9% of the jury respectively. See id.

                                                 18
       Numerous African American veniremembers were not permitted to proceed to individual

voir dire, even though they shared the same relevant characteristics gleaned from the juror

questionnaire as those of other races who were permitted to proceed. Id. ¶¶ 839-40. This leaves

only one possibility for their excusal without examination—race. Moreover, the Harris County

District Attorney’s Office has a documented history of discrimination in jury selection. See, e.g.,

Rosales v. Quarterman, No. H-03-1016, Mem. and Order at 47 (S.D. Tex. Dec. 12, 2008) (ECF

No. 109); Jones v. State, 431 S.W.3d 149, 154-62 (Tex. App. 2013); Moore v. State, 265 S.W.3d

73, 86-90 (Tex. App. 2008); State v. Thomas, 209 S.W.3d 268, 275 (Tex. App. 2006).

       While this claim was adjudicated on the merits, Mr. Balderas has made a prima facie case

that the TCCA’s decision was an unreasonable application of clearly established federal law of

Batson and its progeny. See Pet. ¶¶ 846-58. Indeed, the makeup of Mr. Balderas’s venire and jury

are strikingly similar to the jury selection the Supreme Court found discriminatory in Miller-El v.

Dretke, 545 U.S. 231, 240-241 (2005), where, out of twenty African Americans in a 108-person

venire, only one ultimately served. See also Price v. Cain, 560 F.3d 284, 287 (5th Cir. 2009)

(holding that the fact that “[t]he State used six of its twelve preemptory challenges to strike

African-Americans from the venire, and the resulting jury was all white” was sufficient to infer

racial discrimination).

       The allegations further demonstrate that discovery with respect to this claim is likely to

lead to relevant evidence supporting the claim, namely evidence related to the off-the-record

collusion to strike African Americans from the jury without examination. Accordingly, Mr.

Balderas has “good cause” for the requested discovery. Specifically, Mr. Balderas requests the

following discovery:

               1. Production of all State documents and communications related to the
                  acceptance or exclusion of venire members or jurors.

                                                19
              2. Leave to subpoena state prosecutors Traci Bennett, Caroline Dozier, and Mary
                 McFadden for depositions regarding the acceptance or exclusion of venire
                 members or jurors.

              3. Leave to subpoena Alvin Nunnery, Jerome Godinich, Robert R. Scott, and R.
                 Scott Shearer for depositions regarding the acceptance or exclusion of venire
                 members or jurors.

                                  IV.     CONCLUSION

   For the reasons outlined above, Mr. Balderas respectfully requests that the Court grant his

Motion for Discovery.

Dated: March 22, 2021                      Respectfully submitted,

                                           DLA PIPER LLP (US)

                                   By:     s/ Ashley Allen Carr
                                           Ashley Allen Carr (Tex. Bar No. 24082619)*
                                           Jeffrey E. Tsai**
                                           Marc A. Silverman**
                                           Jonathan Berke***
                                           Jessica Park Wright**

                                           Pro Bono Attorneys for Petitioner Juan Balderas

* Attorney-in-charge as required by Local Rule 11.3
** Admitted Pro Hac Vice
*** Pro Hac Vice Motion Pending




                                             20
                            AVERMENT OF CONFERENCE

       I hereby aver that I have conferred with counsel for Respondent, Assistant Attorney

General Tomee Heining, who has indicated that the Respondent opposes this motion.




                                                         s/ Marc A. Silverman____________
                                                         Marc A. Silverman



Dated: March 22, 2021
                               CERTIFICATE OF SERVICE


       I certify that on March 22, 2021, a true copy of the foregoing Request for Oral Argument

on Petitioner’s Motion for Discovery was served via the ECF/CM system and email to the

following recipients:

       Tomee Heining
       Office of the Attorney General
       300 W. 15th Street
       Austin, Texas 78701
       tomee.heining@oag.texas.gov



                                                          s/ Marc A. Silverman____
                                                          Marc A. Silverman

       Dated: March 22, 2021
